Case 1:01-cv-12257-PBS Document 3512-5 Filed 12/27/06 Page 1 of 6




                                                                    04:58 PM ET
                                                                      12/19/03
Case 1:01-cv-12257-PBS Document 3512-5 Filed 12/27/06 Page 2 of 6




                                                                    04:58 PM ET
                                                                      12/19/03
Case 1:01-cv-12257-PBS Document 3512-5 Filed 12/27/06 Page 3 of 6




                                                                    04:58 PM ET
                                                                      12/19/03
Case 1:01-cv-12257-PBS Document 3512-5 Filed 12/27/06 Page 4 of 6




                                                                    04:58 PM ET
                                                                      12/19/03
Case 1:01-cv-12257-PBS Document 3512-5 Filed 12/27/06 Page 5 of 6




                                                                    04:58 PM ET
                                                                      12/19/03
Case 1:01-cv-12257-PBS Document 3512-5 Filed 12/27/06 Page 6 of 6




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